EXHIBIT C
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                                                             TERM SHEET

                           FINANCING FOR TELEVISION SERIES PROJECT ENTITLED
                                   “Shadowplay (Episodes 101-108)” (“Series”)


               Effective Date:              January 15, 2019

               Lender:                      Creative Wealth Media Finance Corp. (the “Lender”).

               Borrower:                    SHADOWPLAY SERIES HOLDINGS UK LIMITED, a company
                                            duly established and existing under the laws of England and Wales
                                            with an office address at c/o Sheridans, 76 Wardour Street, London
                                            W1F 0UR, UK (the “Borrower”) wishes to obtain financing from
                                            Lender in connection with the production of the Series in accordance
                                            with the specifications attached hereto at Schedule “A”.

               Copyright Owner:             One half of the ownership of the copyright in the Series (including the
                                            copyright in the Approved Teleplay (as defined in Schedule “A”) and
                                            all subsidiary and derivative production rights therein shall be owned
                                            by the Borrower.

               Completion                   Studio Canal S.A.. (the “Completion Guarantor”)
               Guarantor:

               Loan Guaranty and            Completion Guarantor shall guarantee the Borrower’s delivery
               Completion                   requirements under the sales agency/distribution agreement(s) for the
               Arrangements:                Series and shall provide any required completion funds, if any, in
                                            accordance with the terms of a completion agreement to be entered
                                            into by Borrower and Lender in a form approved by Lender.
                                            Borrower and Completion Guarantor will cooperate with Lender to
                                            ensure completion agreement is in place that is satisfactory to Lender
                                            to ensure completion for the Series, which completion arrangements
                                            will require (a) Borrower’s successful closing (to Lender’s
                                            satisfaction) of all necessary financing for the Series; (b) Borrower’s
                                            completion and provision of Lender’s required completion guaranty
                                            documentation (in form approved by Lender (“Completion
                                            Guaranty”); and including without limitation; and (c) Lender’s pre-
                                            approval in writing of the following:
                                            1.    The final budget, cashflow and production schedule for the
                                                  Series;
                                            2.    The final teleplay;
                                            3.    Deferrals/holdbacks (if any);
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                                            4.    Verification of third party development costs (all other
                                                  development costs will not be acceptable for inclusion into the
                                                  budget or recoupment in the waterfall until all financiers are
                                                  repaid;
                                            5.    Key talent and producer(s) and director;
                                            6.    Production and Post Production services and facilities
                                                  agreements;
                                            7.    Story rights, chain of title and writer’s agreements;
                                            8.    A satisfactory pre-production meeting with the producers;
                                            9.    Full insurance coverage, including Entertainment Package,
                                                  Comprehensive General Liability and Errors & Omissions
                                                  coverage, such coverage to be force prior to closing of the
                                                  Completion Guaranty;
                                            10. Borrower’s undertaking that: (a) Borrower will cast to budget
                                                and limit the cast expenses to the amounts specified in the
                                                approved budget; (b) all unbudgeted delivery requirements or
                                                publicity costs will become a distribution charge; (c) the music,
                                                including all world clearances, will be obtained within the
                                                budgeted allowance; (d) Lender will bear no responsibility for
                                                legal fees (other than Lender’s own legal fees incurred in the
                                                negotiation of the Loan Documents), interest charges, bank
                                                charges or any other such charges in excess of the budgeted
                                                amounts; (e) Borrower will provide Lender with progress reports
                                                and cost statements, as required by Lender; (f) Borrower will
                                                provide Lender with all information it may require as to the status
                                                of deliveries; and (g) Lender will require a minimum 10%
                                                contingency included in the approved budget of the Series.
                                            11. Borrower shall have three business days (24 hours during
                                                principal photography of the Series) from receipt of notice from
                                                Lender of failure to meet production requirements to satisfy
                                                Lender that it will meet its obligations under the approved
                                                completion arrangements.

               Loan:                        Subject to satisfaction of the Series Specifications set forth in
                                            Schedule “A” which are capable of being satisfied prior to
                                            commencement of principal photography of the Series and subject to
                                            satisfaction of all Conditions Precedent (defined herein) and such
                                            other conditions precedent as set forth in the loan and security
                                            agreement (“Loan Agreement”) between Lender and Borrower in
                                            respect of the Series, Lender will advance a loan of up to a total
                                            amount of Thirteen Million Eight Hundred Forty-Six Thousand Euros
                                            €13,846,000.00 (the “Loan”) to be used solely for production costs of
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                                            the Series. The Loan is inclusive of the Loan Fee and Legal Fees
                                            (defined below).

               Interest:                    The Loan will bear interest on so much of the outstanding amount
                                            thereof as may remain unpaid from time to time at the rate of ten
                                            percent (10%) per annum, compounded annually (the “Interest”), on
                                            the total of the Loan calculated on a going-forward basis from the date
                                            of the Initial Disbursement until payment in full has been received by
                                            Lender. Except as otherwise provided herein, all interest shall be
                                            payable in arrears.


               Maturity:                    The Loan shall have a maturity date that is twenty four (24) months
                                            from the ”Delivery” of the final episode of the Series (the “Loan
                                            Maturity Date”).

               Loan Fee:                    Borrower shall pay to Lender a non-refundable commitment and set
                                            up fee in an amount of seven and one half percent (7.5%) of the net
                                            amount of Loan (being €12,880,000) (the “Loan Fee”), which is
                                            currently estimated to be €966,000.00. The Loan Fee shall be used by
                                            Lender to pay all costs and expenses of Lender in connection with this
                                            Term Sheet, the Loan Agreement and other Closing Documents,
                                            including any legal fees incurred by Lender’s counsel in connection
                                            with this Term Sheet, the Loan Agreement and the Closing
                                            Documents. The Loan Fee shall be earned in full by Lender upon the
                                            Initial Disbursement (as hereafter defined) under the Loan. The Loan
                                            Fee shall be paid to Lender by deducting one hundred percent (100%)
                                            of the Loan Fee from the Initial Disbursement payable to Borrower
                                            hereunder or deducted pro rata from each Disbursement, at Lender’s
                                            election. The Lender and Borrower agree that Loan Fee shall not be
                                            included in the Approved Budget.

               Escrow, Availability         Upon satisfaction of all the Conditions Precedent hereunder the Loan
               and Closing:                 will be advanced to the Borrower to the designated production account
                                            set forth in the Loan Agreement (“Production Account”) in
                                            accordance with a cash flow schedule pre-approved in writing by
                                            Lender and Borrower.
                                            In order fully to finance the Approved Budget, Tandem Production
               Tandem Loan:
                                            GmbH (“Tandem”) shall provide a production loan (the “Tandem
                                            Loan”) against the value of the anticipated tax credit receipts the
                                            (“Film Incentive”) and a discounted value of the aggregate minimum
                                            guarantees payable under the distribution agreements secured as of the
                                            date hereof the (“Pre-Sale Agreements”). The Tandem Loan shall be
                                            in an amount no less than €16,120,000.00.
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               Approved Budget:             The final locked budgets for the Series shall not exceed
                                            €$29,000,000.00 without Lender’s prior written approval. The budget
                                            of the Series, once approved by Lender, Completion Guarantor and
                                            Borrower will be the “Approved Budget”.

               Deferred Fees                Lender will require a minimum 2.5% contingency included in the
               Contingency etc.:            approved budget of the Series.

               Use of Proceeds:             Proceeds of the Loan, less the Loan Fee, shall be used exclusively to
                                            finance the pre-production, production, post-production, and delivery
                                            of the Series.

               Security:                    The Borrower hereby agrees that the obligations of Borrower to
                                            Lender with respect to the Loan described herein shall be secured by,
                                            and each of them hereby grant to Lender a security interest, in first
                                            priority position, in and to all of Borrower’s assets, including, without
                                            limitation, Borrower’s respective right, title and interest in or relating
                                            to the Series, and all of Borrower’s (and any of their respective
                                            affiliates’) right, title and interest in any of the revenue arising out of
                                            or relating to the Series, including, without limitation, the Completion
                                            Guaranty and insurance policy issued in connection with the Series
                                            and all tax and other incentives and so-called “soft monies” in
                                            connection with the Series, all as set forth in greater detail in the
                                            security documentation being entered into contemporaneously
                                            herewith, which security documentation will include a copyright
                                            mortgage and general security agreement (the “Collateral”). In
                                            addition to the related security documentation to be entered into
                                            contemporaneously herewith, Lender shall be entitled to file one or
                                            more financing statements in all applicable jurisdictions in order to
                                            perfect its security interest in the Collateral.

               Subordination:               Notwithstanding the foregoing, Lender acknowledges and agrees that
                                            Lender shall subordinate its security interest to the security interest of
                                            any applicable guilds (if required by such guilds) and in Film
                                            Incentives and Pre-Sale Agreements that are interim financed by
                                            Tandem and required to repay in accordance with the Tandem Loan
                                            subject to the terms of a mutually agreeable form of interparty
                                            agreement (“Interparty Agreement”) to be entered into between,
                                            among others, Lender, and Tandem dealing with priority of
                                            recoupment as set forth in the “Priority” section below.

               Priority:                    Subject to the limited subordination in favor of the Film Incentives
                                            and Pre-Sale Agreements in respect of the Tandem Loan and in
                                            accordance with the Interparty Agreement, Lender will be entitled to
                                            recoup the Loan, plus interest and charges from all gross receipts
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                                            derived from exploitation of the Series and ancillary rights worldwide,
                                            all as set forth in the mutually agreed Interparty Agreement.

               Sales Agents /               Lender will be entitled to pre-approve in writing:
               Distribution:                (a) domestic and foreign sales agents;
                                            (b) maximum sales agent commissions;
                                            (c) maximum in marketing/sales expenses; and
                                            (d) domestic and foreign sales and distribution agreements.

               Approvals:                   Lender will have customary approval rights, which shall be outlined
                                            in the Loan Agreement, Completion Guaranty and shall include,
                                            without limitation, approvals over the:
                                                1. Approved Teleplay.
                                                2. Finance Structure.
                                                3. Budget.
                                                4. Cash Flow.
                                                5. Production and Post-Production Schedules.
                                                6. Distribution agreements.
                                                7. International and Domestic         Sales      Company   (where
                                                   StudioCanal is pre-approved).
                                                8. Key Cast and Crew.
                                                9. Cast/Composer deferment agreements.
                                                10. All contingent compensation payable to director, lead cast,
                                                    other cast, writers, producers, executive producers and all
                                                    other “talent” (including deferments, bonuses and
                                                    participations).

               Collection Account:          All revenues derived from exploitation of the Series will be paid into
                                            a collection account administered by a collection account manager
                                            approved in writing by Lender (Fintage is hereby pre-approved).
                                            Lender shall be a named party to the Collection Account Management
                                            Agreement (the “CAMA”) and all amounts payable to Lender
                                            hereunder will be payable to Lender in accordance the terms and
                                            instructions of the CAMA in a form to be approved in writing by
                                            Lender.

               Net Profit                   In further consideration of Lender’s agreement to advance the Loan in
               Participation:               accordance with the terms hereof, Lender shall receive an amount
                                            equal to 25% of 100% of Borrower’s “Net Profits”, the definition of
                                            which shall be defined and approved by Lender in writing in the
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                                            CAMA for the Series (such definition shall be no less favourable to
                                            Lender than the definition accorded to any other participant in the
                                            Series’ “Net Profits”).

               Financing Documents: The following documents, and all others required by Lender at its
                                    discretion, shall constitute the “Financing Documents” required as
                                    conditions precedent to be satisfied (as determined by Lender in its
                                    sole discretion) prior to any advances under the Loan, it being agreed
                                    that the Loan shall be funded upon satisfaction of the Conditions
                                    Precedents specifically defined in the Loan Agreement:
                                                1. Loan and Security Agreement.
                                                2. Loan Guaranty.
                                                3. Completion Guaranty.
                                                4. Promissory Note.
                                                5. Borrowing Certificate.
                                                6. Power of Attorney.
                                                7. Deposit Account Control Agreement (if necessary).
                                                8. Escrow Agreement (if necessary).
                                                9. Interparty Agreement.
                                                10. Copyright Mortgages.
                                                11. General Security Agreements.
                                                12. CAMA.
                                                13. PPSA and UCC Financing Statements and authorizations.
                                                14. Lab Pledgeholder Agreements.
                                                15. All other documents referred to in the Loan Agreement and
                                                    any other documents as required by Lender.
                                            Provided Lender is not in breach of its obligations to Borrower under
               Credits:
                                            the Loan Agreement, subject always to the commissioning/pre-sale
                                            broadcasters’ credit policies and guidelines, Lender will have the right
                                            to designate three (3) “Co-Executive Producer” credits for Lender’s
                                            designees, of which: (i) one (1) shall be on a shared card (shared only
                                            with other co-producers) in the main titles of the Series (or, if there
                                            are no production credits at the beginning of the Series, in the end
                                            titles) in an average size of type and duration no less favorable than
                                            the average size of type and duration used to accord any other co-
                                            executive producer main title credit on the Series, and (ii) two (2) in
                                            the end roll in an average size of type and duration no less favorable
                                            than the average size of type and duration used to accord any other co-
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                                            executive producer end roll credit on the Series; (collectively the
                                            “Lender Credits”). Subject always to the commissioning/pre-sale
                                            broadcasters’ credit policies and guidelines, Lender shall also receive,
                                            in the same form and position as the screen credits, the main title co-
                                            executive producer Lender Credit in the billing block of all so called
                                            “paid ads”, and its corporate “bug” logo on all paid ads of the Series
                                            issued by or under the Borrower’s control including but not limited to,
                                            posters, home video packaging, soundtrack albums, “one-sheets”,
                                            newspaper advertising, print advertising and any other advertising and
                                            promotional materials where any other co-executive producer or
                                            financier credits appear (subject to customary exclusions for honorary
                                            awards), including but not limited to Borrower’s credits or a full
                                            billing block appears (the “Paid Ads”) and any ancillary products
                                            (including packaging for DVDs, soundtracks, etc.) and one-sheets.
                                            For greater certainty, the font size and duration and all other aspects
                                            of the co-executive producer credits shall be no less favourable than
                                            those provided to any other “Co-Executive Producer” on the Series.

                                            Borrower shall procure Lender six (6) complementary invitations to
               Premiere:
                                            all premieres of the Series in Canada and the United States of America
                                            (at Lender’s discretion), if any.

               Covenants and                (a) There is no action, suit or proceeding (actual or threatened) at
               Representations and              law or in equity or by or before any governmental instrumentality
               Warranties:                      or other agency concerning the Series, or any investigation of the
                                                affairs concerning the Series or the Collateral in any respect.
                                            (b) Borrower owns (or will own upon the existence of each of the
                                                following) one half of all right, title and interest, in and to the
                                                Collateral including all right, title and interest necessary to make,
                                                distribute, exhibit and otherwise exploit the Series throughout
                                                the universe.
                                            (c) No material or matter used in or in connection with the Series
                                                will infringe any copyrights, statutory or common law, or violate
                                                the rights of any third party.
                                            (d) The Series will be completed and delivered and will be
                                                technically acceptable to exhibition in first class theatres in
                                                the U.S. and elsewhere.
                                            (e) Borrower is a duly constituted, registered and organized
                                                company and is in good standing under the laws governing it,
                                                and has the right and authority to enter into this Term Sheet and
                                                to grant the rights provided to Lender set forth herein and in the
                                                related Financing Documents.
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               Conditions Precedent: The long form Loan Agreement shall outline the complete set of
                                     conditions precedent (“Conditions Precedent”) which shall include,
                                     but are not limited to:
                                            (a) Chain of Title. Chain of title, including proof of payment and a
                                                legal opinion, copyright registrations, in form and substance
                                                approved by Lender in its sole discretion, for the Teleplay and
                                                the Series, which provides that, the copyright and distribution
                                                rights are held in the name of Borrower.
                                            (b) Financing/Security Documents. Financing Documents and such
                                                other security documents as may be reasonably required by
                                                Lender, being fully executed (and notarized, if applicable) and
                                                unconditionally delivered to Lender.
                                            (c) Corporate Documentation. The articles of incorporation,
                                                shareholder agreements, resolutions and all other organizational
                                                documentation of Borrower and qualifications of Borrower
                                                qualified to do business under applicable law, including, without
                                                limitation, any foreign qualifications to do business as may be
                                                required and a corporate legal opinion in a form satisfactory to
                                                Lender.
                                            (d) Key Cast and Crew Agreements. All agreements (or confirmed
                                                and agreed to material deal terms) for key cast, key crew
                                                (including director, director of photography, Producers,
                                                production designer, composer and editor).
                                            (e) E&O and Production Insurance Policies. Insurance policies with
                                                endorsements in favour of Lender as an additional insured.
                                                Borrower represents and confirms that that there are no
                                                “essential elements”.
                                            (f)   Proof of Financing. Binding financing agreement between
                                                  Borrower and other financiers, in a form acceptable to Lender
                                                  evidencing that the Approved Budget is fully financed and that
                                                  such financing has been advanced into the Escrow Account
                                                  pursuant to the Escrow Agreement.
                                            (g) Finance Plan. Approved Budget and, if applicable, satisfaction
                                                of the “Strike Price” under the Completion Guaranty, including,
                                                without limitation, (a) Tax Credit Financier’s legally binding
                                                commitment to advance the Tandem Loan, other equity
                                                financiers’ legally binding commitment to advance the amounts
                                                set forth in the finance plan to be approved in writing by Lender,
                                                all to be used exclusively to fund Series related expenses as set
                                                forth in the Approved Budget and secured (e.g., letter of credit,
                                                escrow, pre-funded, etc.) to the satisfaction of Lender.
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                                            (h) Sales Agent Agreement/Estimates. Agreements with approved
                                                foreign and domestic sales agents, including sales estimates.
                                            (i)   Other Conditions. Such other conditions precedent required by
                                                  Lender and as are customary for transactions of this nature.

               Loan Agreement and           Lender and Borrower intend to enter into a Loan Agreement (as
               Termination:                 defined herein) incorporating the terms of this Term Sheet as well as
                                            Lender’s Additional Standard Terms. The terms and conditions
                                            entered into in the Loan Agreement shall replace and supersede this
                                            Term Sheet. In the event that the Loan Agreement has not been entered
                                            into or the Conditions Precedent are not completed to Lender’s
                                            satisfaction on or before August 31, 2019, Lender shall have no
                                            obligation to Borrower hereunder and this Term Sheet will be
                                            automatically terminated and of no force or effect. In the event that
                                            Lender elects in its sole discretion to advance any amount of the Loan
                                            to Borrower prior to the satisfaction of the Conditions Precedent or
                                            execution of the Loan Agreement, then such amounts will accrue
                                            interest in accordance with this Term Sheet and become immediately
                                            due and payable to Lender if this Term Sheet is terminated prior to the
                                            satisfaction of the Conditions Precedent.

               Post-Production and          Post-Production: The benefit of any post-production deals which may
               Underages:                   include in-kind or equity investments shall reduce the final negative
                                            cost of the Series.
                                            Underbudget Savings: Any savings from the Approved Budget shall
                                            be paid to Lender in proportion to its Loan financing provided in
                                            respect of the Series. Notwithstanding the preceding, in the event of
                                            a conflict between this paragraph and the provisions of an interparty
                                            or intercreditor between Lender, Borrower and other financiers, the
                                            terms of the interparty or intercreditor shall control.

               Additional Standard          The Loan Agreement shall include such terms as are standard in
               Terms:                       connection with senior lender agreements in the film industry,
                                            including but not limited to: standard affirmative covenants such as
                                            ongoing financial reporting obligations of Borrower, audit rights for
                                            Lender and notice of material changes, standard negative covenants,
                                            indemnification of Lender and remedies for events of default by
                                            Borrower.

               Confidentiality:             The parties shall maintain at all times as confidential information the
                                            terms of this Term Sheet and the content of any negotiations between
                                            them, except that both parties may inform their respective advisors,
                                            regulatory authorities, counsel, lenders, or other equity holders,
                                            financiers and employees with a need to know as each party deems
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                                            necessary (provided that all such persons are made aware of and agree
                                            to abide by the confidentiality hereof).

               Governing Law:               This Term Sheet will be governed by the laws of the State of New
                                            York.

               Other:                       All terms of this Term Sheet shall be legally binding agreements of
                                            the parties hereto.

               Counterparts:                This Term Sheet may be executed in one or more counterparts and via
                                            electronic transmission or electronic execution, each of which shall
                                            constitute an original hereof and which together shall constitute one
                                            agreement.


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            Agreed and accepted and executed by the parties on this 15th day of January, 2019 to be
            effective as of the Effective Date.

            Creative Wealth Media Finance Corp.




            By:
            Name: Jason Cloth
            Title: Authorized Signing Officer


            SHADOWPLAY SERIES HOLDING UK
            LIMITED, LLC

            By:
            Name: Steven Thibault
            Title: Authorized Signing Officer
            By:
            Name: Aaron Gilbert
            Title: Authorized Signing Office
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                                                        SCHEDULE “A”

                                                       Series Specifications

                                                       “SHADOWPLAY”

            The Series shall be directed by Mars Marlind (“Director”), shall be produced as a live action
            television series Series production by Shadowplay Series Holdings UK Limited ( the,
            “Producer”), starring Taylor Kitsch and Michael C. Hall and shall consist of eight (8) one (1) hour
            episodes with each episode having a running time in accordance with the broadcaster
            requirements, shall be based on and substantially conform to the eight (8) approved teleplay written
            by Mans Marlind (the “Approved Teleplay”), subject to minor changes occasioned by the
            contingencies of production which do not materially alter characters or narrative, and shall be
            produced in accordance with the approved production budget (the “Approved Budget”), subject
            to minor variations within budget categories, and the approved production cash-flow schedule
            (“the “Approved Cash Flow”) and the approved production schedule (the “Approved
            Schedule”), subject to deviations from the Approved Cash Flow and the Approved Schedule
            approved by Producer and Creative Wealth Media Finance Corp. (the “Lender”). Producer shall
            obtain customary errors and omissions and general production insurance (“Customary
            Insurance”).

                                                         Approved Budget

            The Approved Budget shall not exceed €$29,000,000.00 without Lender’s prior written approval.
            The Approved Budget shall be inclusive of all direct development and production costs, the
            Lender’s fee and required customary contingency and an allowance for all delivery items
            (including delivery items bonded by the Completion Guarantor) (i) customarily required by U.S.
            “major” distributors for the domestic territory (the “Domestic Territory”); and (ii) customarily
            required by first-class international sales agents who represent U.S. based producers (“Sales
            Agent”) in connection with licensing theatrical motion Series for the “International Territory” (i.e.,
            the world excluding the Domestic Territory), a producer fee in the amount not to exceed the
            amount set forth in the Approved Budget for Producer (the “Producer Fee”), and the premiums
            for Customary Insurance. Neither Producer (nor any of its affiliates or the principals or employees
            of any of the foregoing) shall be entitled to any other payment out of the Approved Budget
            (whether denominated a fee or overhead or otherwise). Neither Tax Credit Financier (nor any of
            its affiliates or the principals or employees of any of the foregoing) shall be entitled to any
            repayments on its financing (however denominated) out of the Approved Budget. Neither director
            nor any entity furnishing services or assigning rights (nor any of its affiliates or the principals or
            employees of any of the foregoing) shall be entitled to receive any payments (however
            denominated) out of the Approved Budget in excess of the amounts set forth in the Approved
            Budget. No person or entity shall be entitled to receive a producer or executive producer or similar
            fee out of the Approved Budget (other than the Producer Fee) without the Lender’s prior written
            approval. The Approved Budget shall include all amounts necessary to effect delivery in
            accordance with the foregoing schedules (each of which shall be subject to alteration once the
            Domestic Distributor and the Sales Agent have been determined.
